                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


LANCE LAMAR BOOTH,

                      Plaintiff,

               v.                                                  Case No. 20-C-1061

WISCONSIN DEPARTMENT OF CORRECTIONS, et al.,

                      Defendants.


                                            ORDER


       Plaintiff Lance Lamar Booth, proceeding pro se, filed a complaint under 42 U.S.C. § 1983,

alleging that his civil rights were violated. The court entered a screening order finding that the

complaint failed to state a claim upon which relief could be granted but allowed Plaintiff until

September 4, 2020, to file an amended complaint curing the defects identified by the court. Dkt.

No. 9. Plaintiff was warned that failure to make a timely submission would result in the dismissal

of the action. Id. On August 18, 2020, the court granted Plaintiff’s motion for an extension of

time until October 4, 2020, to file an amended complaint. Dkt. No. 11. To date, Plaintiff has

failed to file an amended complaint and the time to do so has expired. Accordingly, this case is

dismissed. The Clerk is directed to enter judgment accordingly.

       SO ORDERED at Green Bay, Wisconsin this 19th day of October, 2020.

                                                    s/ William C. Griesbach
                                                    William C. Griesbach
                                                    United States District Judge




         Case 1:20-cv-01061-WCG Filed 10/19/20 Page 1 of 1 Document 12
